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  4
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  5   Virage SPV 1, LLC

  6
                                 UNITED STATES BANKRUPTCY COURT
  7
                                  CENTRAL DISTRICT OF CALIFORNIA
  8
                                          LOS ANGELES DIVISION
  9

 10
      In re                                              Case No.: 2:20-bk-21022 BR
 11
      Girardi Keese,                                     Chapter 7
 12
                              Debtor.                    OPPOSITION AND REQUEST FOR
 13                                                      HEARING RE TRUSTEE’S APPLICATION
                                                         TO EMPLOY SPECIAL LITIGATION
 14                                                      COUNSEL [ECF # 1018]

 15
                                                         Date:       To Be Set
 16                                                      Time:       To Be Set
                                                         Place:      Crtrm 1668; Judge Russell
 17

 18           Virage SPV 1, LLC (“Virage”) a secured creditor of Girardi Keese (“Debtor”) herein
 19   opposes and requests a hearing on the Chapter 7 Trustee’s Application to Expand Scope of
 20   Services of Special Litigation Counsel Larry W. Gabriel, The Law Offices of Jenkins, Mulligan &
 21   Gabriel, LLP [ECF # 1018] (“Application”) filed by Elissa D. Miller, Chapter 7 Trustee
 22   (“Trustee”). Virage’s opposition is as follows:
 23           1.       Virage joins in and incorporates by reference the objections to the Application filed
 24   by California Attorney Lending II, Inc. [ECF # 1032], Stillwell Madison, LLC [ECF # 1033] and
 25   Abir Cohen Treyzon Salo, LLP (“ACTS”) et al. [ECF # 1036] (collectively “Objections”). In the
 26   interests of conserving the Court’s resources, Virage does not restate those arguments herein,
 27   however, Virage adopts the arguments against approval of the Application as contained in the
 28   Objections for the purpose of this matter only.
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  1          2.      In addition, Virage believes that approval of the Application is not an exercise of

  2   the Trustee’s sound business judgment at this time. Attached hereto as Exhibit 1 is the Trustee’s

  3   November 23, 2021 motion to authorize use of cash collateral [ECF # 878] (“Cash Collateral

  4   Motion”), without exhibits thereto. The Trustee’s Cash Collateral Motion states:

  5                  The Trustee continues to position the Estate to receive significant value in
             the future through case transitions, motions and stipulations regarding the Debtor’s
  6          attorneys’ fees and costs in its contingency cases. Just one example of the Estate
             benefiting from the use of cash is the transition and assignment of the Estate's
  7
             interests in the Southern California Gas Leak Litigation, which the Court approved
  8          early in the case. This case has recently settled with the plaintiffs (roughly 23% of
             whom the Debtor jointly represented) to receive a $1.8 billion settlement, which
  9          will ultimately result in the Estate receiving significant attorneys’ fees plus cost
             reimbursements. On the docket are dozens of other stipulations to transition cases
 10          and preserve fees.
 11
      Exhibit 1 at internal pages 2-3.
 12
             3.      The Trustee’s Cash Collateral Motion confirms that the estate has a substantial
 13
      interest in the Southern California Gas Leak Litigation settlement for $1.8 billion and many more
 14
      case transition agreements. Thus, it is fair to project that the estate may ultimately realize
 15
      hundreds of millions of dollars in case proceeds from all the estate’s interests in client cases.
 16
             4.      On the other side of the estate’s balance sheet is the potential total of claims in the
 17
      estate. The claims bar date expired on January 21, 2022. See ECF # 795. Per the current claims
 18
      register, the raw face amount of all claims in the estate totals $253 million, of which $95 million is
 19
      a claim by ACTS and multiple $11.7 million claims filed by the Ruigomez creditors that appear to
 20
      be duplicates. Based on a very rough view of the claims, it is not unreasonable to assume that
 21
      claims may total less than $200 million, if not less than $150 million.
 22
             5.      Based on the foregoing approximation of assets and liabilities of the estate, it is
 23
      within the range of potential outcomes that the estate may be solvent. Virage recognizes that the
 24
      foregoing is a very rough analysis of the estate’s financial condition and that the Trustee is likely
 25
      in a significantly better position to estimate whether the estate may ultimately be solvent based on
 26
      the numerous transition agreements that the Trustee has entered into and may yet enter into to
 27
      realize proceeds from estate’s interests in client cases.
 28


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  1           6.      If there is any reasonable prospect that the estate may be solvent, then a serious

  2   question arises as to whether it is within the Trustee’s sound business judgment to employ special

  3   litigation counsel on the terms set forth in the Application at this time. The Application heavily

  4   incentivizes developing claims against the “Litigation Lenders” by first paying for an

  5   “investigation” on an hourly basis and then shifting to contingency fee litigation against the

  6   Litigation Lenders. Contingency fee litigation, however, is not cost-free to the estate. Absent an

  7   affirmative recovery on any litigation claims, the estate will be burdened with a substantial

  8   increase in the secured claim balances because the Litigation Lenders are all accruing substantial

  9   interest expense under their financing agreements until paid and all have fee shifting clauses in

 10   their financing agreements. Thus, the Trustee’s decision to investigate and potentially litigate with

 11   the Litigation Lenders versus promptly pay those claims has a serious economic impact on the

 12   estate and all junior creditors.

 13           7.      While the financial condition of the estate may ultimately support the Trustee

 14   litigating with the Litigation Lenders (to the extent of any claims that are at this point

 15   unidentified), that business judgment determination cannot be made on the record before the

 16   Court. It is putting the cart before the horse for the Trustee to hire special litigation counsel on the

 17   terms set forth in the Application to investigate and then likely litigate with the estate’s Litigation

 18   Lenders, before the Trustee knows whether the estate may well be solvent. This is especially true

 19   when the Trustee already has several competent professionals already employed that can perform

 20   the proposed investigation as detailed in the Objections.

 21           8.      For all these reasons, Virage respectfully requests that the Court deny the

 22   Application without prejudice at this time.

 23           Wherefore, Virage opposes the Application and requests a hearing thereon.

 24   Dated: March 1, 2022                                   Lewis R. Landau
                                                             Attorney at Law
 25

 26
                                                             By:/s/ Lewis R. Landau
 27                                                          Lewis R. Landau
                                                             Attorney for Virage SPV 1, LLC
 28


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                             EXHIBIT 1


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                                                                  6 Facsimile: 714 445-1002

                                                                  7 Attorneys for Elissa D. Miller, Chapter 7
                                                                    Trustee
                                                                  8

                                                                  9                         UNITED STATES BANKRUPTCY COURT

                                                                 10                           CENTRAL DISTRICT OF CALIFORNIA

                                                                 11                                 LOS ANGELES DIVISION
SMILEY WANG-EKVALL, LLP

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                                                                 12 In re                                       Case No. 2:20-bk-21022-BR
                             3200 Park Center Drive, Suite 250
                               Costa Mesa, California 92626




                                                                 13 GIRARDI KEESE,                              Chapter 7

                                                                 14                              Debtor.        CHAPTER 7 TRUSTEE'S FIFTH MOTION
                                                                                                                FOR ORDER AUTHORIZING USE OF
                                                                 15                                             CASH COLLATERAL PURSUANT TO 11
                                                                                                                U.S.C. § 363 AND FEDERAL RULE OF
                                                                 16                                             BANKRUPTCY PROCEDURE 4001(b);
                                                                                                                MEMORANDUM OF POINTS AND
                                                                 17                                             AUTHORITIES; DECLARATIONS OF
                                                                                                                ELISSA D. MILLER AND PHILIP E.
                                                                 18                                             STROK IN SUPPORT
                                                                 19
                                                                                                                Date:       December 14, 2021
                                                                 20                                             Time:       2:00 p.m.
                                                                                                                Ctrm.:      1668
                                                                 21                                                         255 E. Temple Street
                                                                                                                            Los Angeles, California 90012
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                                                                  1 TO THE HONORABLE BARRY RUSSELL, UNITED STATES BANKRUPTCY JUDGE:

                                                                  2           Elissa D. Miller, the chapter 7 trustee (the "Trustee") for the bankruptcy estate of

                                                                  3 Girardi Keese (the "Estate"), submits this Chapter 7 Trustee's Fifth Motion for Order

                                                                  4 Authorizing Use of Cash Collateral Pursuant to 11 U.S.C. § 363 and Federal Rule of

                                                                  5 Bankruptcy Procedure 4001(b) (the "Motion"). In support of the Motion, the Trustee

                                                                  6 submits the following memorandum of points and authorities and the attached

                                                                  7 declarations of Elissa D. Miller and Philip E. Strok.

                                                                  8

                                                                  9 I.        INTRODUCTION

                                                                 10           By the time the Trustee was appointed, Girardi Keese's (the "Debtor") operations

                                                                 11 were at a standstill. The Debtor held minimal cash, nearly all employees had either left or
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                                                                 12 resigned, and the Debtor lacked the resources and personpower to realize the value of its
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                               Costa Mesa, California 92626




                                                                 13 attorneys' fees and costs in its contingency cases—its primary assets. Since her

                                                                 14 appointment nearly a year ago, the Trustee and her team have been working to protect

                                                                 15 the interests of the Debtors' clients, while also working to preserve and maximize the

                                                                 16 value of the Estate's interests. In order to maximize the Estate's assets, the Trustee has

                                                                 17 worked to and continues in her efforts to transition the Debtor's remaining cases to

                                                                 18 qualified counsel. Where clients have elected to retain new counsel, the Trustee has
                                                                 19 transferred physical and electronic case files while also taking all appropriate measures

                                                                 20 to preserve, protect, and collect on the Estate's rights to fees and costs in each of those

                                                                 21 cases. The Trustee's work is ongoing and requires that she have uninterrupted access to

                                                                 22 the Debtor's case files (electronic and paper), cost ledgers, and other necessary

                                                                 23 information.

                                                                 24           The Trustee continues to position the Estate to receive significant value in the

                                                                 25 future through case transitions, motions and stipulations regarding the Debtor's attorneys'

                                                                 26 fees and costs in its contingency cases. Just one example of the Estate benefiting from
                                                                 27 the use of cash is the transition and assignment of the Estate's interests in the Southern

                                                                 28 California Gas Leak Litigation, which the Court approved early in the case. This case has


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                                                                  1 recently settled with the plaintiffs (roughly 23% of whom the Debtor jointly represented) to

                                                                  2 receive a $1.8 billion settlement, which will ultimately result in the Estate receiving

                                                                  3 significant attorneys' fees plus cost reimbursements. On the docket are dozens of other

                                                                  4 stipulations to transition cases and preserve fees. These results would not have been

                                                                  5 possible if the Trustee lacked access to cash collateral to identify and transition the files

                                                                  6 and to take such other actions as she deems appropriate to monetize the Estate.

                                                                  7           By the Motion, the Trustee seeks authority use cash collateral in accordance with

                                                                  8 the updated Six Month Budget (the "Budget") attached hereto as Exhibit "1" which covers

                                                                  9 the period from January 1, 2022 through June 30, 2022 (the "Cash Collateral Period").

                                                                 10 The Budget allows only for necessary costs, with expenditures not to exceed 115% of the

                                                                 11 aggregate "High" expenditures set forth in the Budget, i.e., a 15% variance. As adequate
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                                                                 12 protection for the Trustee's use of cash collateral, California Attorney Lending II, Inc.
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                                                                 13 ("CAL II"), Stillwell Madison, LLC ("Stillwell"), Virage SPV 1, LLC ("Virage"), Nano Banc

                                                                 14 ("Nano"), Joseph Ruigomez, Jamie Ruigomez, and Kathleen Ruigomez (collectively, the

                                                                 15 "Ruigomez Creditors"), and KCC Class Action Services, LLC ("KCC") will receive

                                                                 16 replacement liens with the same validity, priority, scope, or extent against the Debtor's

                                                                 17 assets as of the petition date, and solely to the extent that the use of cash collateral

                                                                 18 results in diminution in value and other protections as set forth in this Motion. In short, all
                                                                 19 parties alleging secured claims will be adequately protected.

                                                                 20           The use of cash collateral is critical for the Estate. If the Trustee lacks access to

                                                                 21 cash collateral, she will be unable to transition the Debtor's cases to other law firms to

                                                                 22 maximize the Estate's value while protecting the clients. Further, if the Trustee's access

                                                                 23 to the Debtor's case files, cost ledgers and other important information is interrupted, the

                                                                 24 Trustee will be highly burdened in recovering fees and costs and may even be unable to

                                                                 25 establish quantum meruit claims in its cases where the Debtor was terminated and/or

                                                                 26 replaced. Put simply, the Trustee's efforts to preserve and enhance the Estate are
                                                                 27 funded by cash collateral, and it is this work to increase value that provides the secured

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                                                                  1 creditors with adequate protection. It is crucial that the Trustee's progress in preserving

                                                                  2 and enhancing the Estate not be cut short.

                                                                  3           Authority to use cash collateral is also crucial to avoid liability to the Estate. To

                                                                  4 avoid liability, the Trustee must be able to pay the expense of providing the case files to

                                                                  5 clients when they request their files, which has started to occur with more frequency. The

                                                                  6 files cannot just be delivered. As detailed in the operating motion filed concurrently

                                                                  7 herewith, there was no central filing system and files are located on different systems;

                                                                  8 sometimes electronic, sometimes paper and sometimes both. In addition, for many of the

                                                                  9 cases (mass tort and other multi-client cases), the Trustee cannot just hand over the

                                                                 10 entire file to the client, as it may contain information for multiple clients.

                                                                 11           Supporting the Trustee and her professionals with information from the files and
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                                                                 12 the accounting system as well as dealing with the file transitions, either to other counsel
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                               Costa Mesa, California 92626




                                                                 13 or returning files to the clients, requires funds.

                                                                 14           For these reasons, the Court should authorize the Trustee to use cash collateral in

                                                                 15 accordance with the Budget through the end of the Cash Collateral Period – June 30,

                                                                 16 2022.

                                                                 17 II.       FACTUAL BACKGROUND

                                                                 18           A.      The Debtor's Involuntary Bankruptcy Case
                                                                 19           The Debtor was a plaintiff's law firm based in Los Angeles, California. On

                                                                 20 December 18, 2020, petitioning creditors Jill O'Callahan, as successor in interest to

                                                                 21 James O'Callahan, Robert M. Keese, John Abassian, Erika Saldana, Virginia Antonio,

                                                                 22 and Kimberly Archie (collectively, the "Petitioning Creditors") filed an involuntary chapter

                                                                 23 7 bankruptcy petition against the Debtor.1 Prior to the involuntary petition, the Debtor

                                                                 24 practiced in the areas of personal injury, defective products, sexual abuse, toxic torts,

                                                                 25 business law, employment law, and aviation law.

                                                                 26
                                                                 27
                                                                          1   The Petitioning Creditors also filed an involuntary chapter 7 bankruptcy petition against Thomas V.
                                                                 28 Girardi, which is currently pending as Bankruptcy Case No. 2:20-bk-21020-BR.


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                                                                  1           On December 24, 2020, the Petitioning Creditors filed a Motion for Appointment of

                                                                  2 Interim Trustee Pursuant to 11 U.S.C. § 303(g) [Docket No. 12]. The Court entered an

                                                                  3 order granting the motion on January 5, 2021 [Docket No. 45]. On January 6, 2021, the

                                                                  4 Trustee was appointed as the interim trustee [Docket No. 50].

                                                                  5           On January 13, 2021, the Court entered an Order Directing: (1) The Clerk of Court

                                                                  6 to Immediately Enter an Order for Relief under Chapter 7; (2) The United States Trustee

                                                                  7 to Immediately Appoint a Chapter 7 Trustee; (3) The Debtor to File All Schedules and

                                                                  8 Related Documentation for Chapter 7 Case within Fourteen Days of the Entry of this

                                                                  9 Order; and (4) Vacating February 16, 2021 Status Conference [Docket No. 68]. On

                                                                 10 January 13, 2021, the Clerk of Court entered an order for relief against the Debtor

                                                                 11 [Docket No. 69], and the Trustee was appointed and accepted her appointment in the
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                                                                 12 Debtor's case [Docket No. 71].
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                                                                 13           B.     The Debtor's Primary Assets

                                                                 14           At the time the involuntary petition was filed against the Debtor, the Debtor's affairs

                                                                 15 were in dire straits. Pre-petition, the Debtor was counsel of record in a significant number

                                                                 16 of cases which were undertaken on a contingency basis. Unfortunately, prior to the

                                                                 17 involuntary petition date, nearly all of the Debtor's employees and attorneys had resigned

                                                                 18 and moved on. These cases were at varying litigation stages, with some cases currently
                                                                 19 pending and other cases where the client had terminated its relationship with the Debtor.

                                                                 20 Without staff and attorneys, the Trustee is left with the challenge of establishing the

                                                                 21 Estate's rights to fees and costs and collecting on such fees and costs from the Debtor's

                                                                 22 contingency cases. The Debtor's fees and costs in its plethora of cases likely constitute

                                                                 23 the most significant assets in the Estate. However, protecting and preserving the

                                                                 24 Debtor's and clients' interests in these cases requires a support team and vendors that

                                                                 25 need to be paid and the payment of other necessary expenses.

                                                                 26           C.     State of the Debtor's Offices
                                                                 27           For over 20 years, the Debtor operated out of two buildings located in Los

                                                                 28 Angeles, California. One building is located at 1122 Wilshire Boulevard, Los Angeles,


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                                                                  1 California ("Building 1"), and the other is located at 1126 Wilshire Boulevard, Los

                                                                  2 Angeles, California ("Building 2").

                                                                  3           The Estate continued to occupy both Building 1 and Building 2 post-bankruptcy.

                                                                  4 Each of the buildings housed attorneys and staff and included storage and other space to

                                                                  5 support the Debtor's practice. Building 1 has been sold and the Trustee has vacated the

                                                                  6 premises, disposed of over 7 truckloads of waste, and moved the majority of its

                                                                  7 remaining contents to Building 2.2 The Trustee continues to operate the case from

                                                                  8 Building 2 where the computer servers and client files are currently located. Building 2 is

                                                                  9 currently listed for sale and provides only a temporary storage solution for the Trustee.

                                                                 10 Moreover, the Trustee has concluded an online personal property auction sale that

                                                                 11 resulted in significant cash plus the removal of most of the Debtor's personal property,
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                                                                 12 leaving the Trustee with primarily client files remaining.
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                                                                 13           The Trustee continues to regularly visit the Debtor's office. As stated in prior

                                                                 14 pleadings, the Debtor's office was difficult to navigate, disorganized, and holds a large

                                                                 15 volume of documents. The Debtor's case files and data are generally stored in one or

                                                                 16 more of three different methods: (1) certain case files are stored in physical, paper files,

                                                                 17 (2) some mass tort litigation case files are primarily stored in a proprietary electronic

                                                                 18 system of the Debtor, and (3) other case files and general office files, along with some
                                                                 19 mass tort litigation case files, are stored electronically in a program called iManage. This

                                                                 20 is in addition to client cost information located on the Debtor's Sage Accounting System.

                                                                 21 In order to access this information, the Debtor must continue to pay for internet services

                                                                 22 for the Debtor, as well as pay for the maintenance of the virtual "cloud" server.

                                                                 23 Preservation of this electronic information also requires the services of a specialized

                                                                 24 computer consultant. See Declaration of Elissa D. Miller.

                                                                 25

                                                                 26
                                                                          2
                                                                 27            The Budget includes additional expenses that will be incurred if Building 2 is sold during the Cash
                                                                      Collateral Period and the Trustee vacates Building 2. Through the Motion, the Trustee is asking for
                                                                 28   authority to pay these additional expenses should it become necessary.



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                                                                  1           The Trustee's attempts to navigate the Debtor's internal systems have been

                                                                  2 supported by certain of the Debtor's former employees. The Trustee requires their

                                                                  3 assistance to help navigate the Debtor's electronic and physical storage systems, keep

                                                                  4 track of the Debtor's pending cases to protect the Estate and clients, and locate

                                                                  5 additional assets. Physical files as well as electronic information are still located at the

                                                                  6 Debtor's office and the Trustee requires uninterrupted utilities to access such information.

                                                                  7 The Trustee also needs assistance from her field agent to quickly locate files and records

                                                                  8 for both her team and clients of the Debtor that request records. In addition, to protect

                                                                  9 the Estate from liability while the Debtor's office is being accessed, the Trustee requires

                                                                 10 insurance. Accordingly, the Trustee has included the estimated costs of utilities and

                                                                 11 insurance in the Budget. See Declaration of Elissa D. Miller.
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                                                                 12           D.    The Trustee's Prior Cash Collateral Motions
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                                                                 13           On February 10, 2021, the Trustee filed her first Motion for Order Approving

                                                                 14 Stipulations for Use of Cash Collateral and Authorizing Use of Cash Collateral Pursuant

                                                                 15 to 11 U.S.C. § 363 and Federal Rule of Bankruptcy Procedure 4001(b) [Docket No. 179]

                                                                 16 (the "First Cash Collateral Motion"). The Court held a hearing on the First Cash

                                                                 17 Collateral Motion on February 16, 2021. On February 16, 2021, the Court entered an

                                                                 18 order granting the First Cash Collateral Motion on an interim basis. See Docket No. 193.
                                                                 19 On March 2, 2021, the Court held a final hearing on the First Cash Collateral Motion. On

                                                                 20 March 11, 2021, the Court entered an order granting the First Cash Collateral Motion on

                                                                 21 a final basis. See Docket No. 257. Under this order, the Trustee's authority to use cash

                                                                 22 collateral expired on March 31, 2021. The order also authorized a budget of $75,400 to

                                                                 23 $124,700. For this period, the Trustee remained well within her budget, spending a total

                                                                 24 of $85,815.12. See Declaration of Elissa D. Miller.

                                                                 25           On March 30, 2021, the Trustee filed the Chapter 7 Trustee's Second Motion for

                                                                 26 Order Approving Stipulations for Use of Cash Collateral and Authorizing Use of Cash
                                                                 27 Collateral Pursuant to 11 U.S.C. § 363 and Federal Rule of Bankruptcy Procedure

                                                                 28 4001(b) and (d) [Docket No. 287] (the "Second Cash Collateral Motion"). The Court held


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                                                                  1 a hearing on the Second Cash Collateral Motion on April 6, 2021. On April 14, 2021, the

                                                                  2 Court entered an order granting the Second Cash Collateral Motion on an interim basis.

                                                                  3 See Docket No. 307. On April 27, 2021, the Court held a final hearing on the Second

                                                                  4 Cash Collateral Motion. On May 7, 2021, the Court entered an order granting the

                                                                  5 Second Cash Collateral Motion on a final basis. See Docket No. 329. Pursuant to this

                                                                  6 order, the Trustee's authority to use cash collateral expired on June 30, 2021. The order

                                                                  7 also authorized a budget of $141,100 to $226,650. For this period, the Trustee remained

                                                                  8 below the low end of her budget, spending a total of $126,072.83. See Declaration of

                                                                  9 Elissa D. Miller.

                                                                 10           On June 29, 2021, the Trustee filed the Chapter 7 Trustee's Third Motion for Order

                                                                 11 Approving Stipulations for Use of Cash Collateral and Authorizing Use of Cash Collateral
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                                                                 12 Pursuant to 11 U.S.C. § 363 and Federal Rule of Bankruptcy Procedure 4001(d) [Docket
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                                                                 13 No. 451] (the "Third Cash Collateral Motion"). The Court held a hearing on the Third

                                                                 14 Cash Collateral Motion on July 6, 2021. On July 6, 2021, the Court entered an order

                                                                 15 granting the Third Cash Collateral Motion. See Docket No. 473. Because all parties

                                                                 16 asserting secured claims consented to the use of cash collateral, the Court entered an

                                                                 17 order granting the Third Cash Collateral Motion and authorized the use of cash collateral

                                                                 18 on a final basis. The Trustee's authority to use cash collateral expired on September 30,
                                                                 19 2021. The Court's order authorized a budget of $166,000 to $276,375. For this period,

                                                                 20 the Trustee remained below the low end of her budget, spending a total of $116,190.76.

                                                                 21 See Declaration of Elissa D. Miller.

                                                                 22           On September 29, 2021, the Trustee filed the Chapter 7 Trustee's Fourth Motion

                                                                 23 for Order Approving Stipulations for Use of Cash Collateral and Authorizing Use of Cash

                                                                 24 Collateral Pursuant to 11 U.S.C. § 363 and Federal Rule of Bankruptcy Procedure

                                                                 25 4001(b) and (d) [Docket No. 747] (the "Fourth Cash Collateral Motion"). The Court held a

                                                                 26 hearing on the Fourth Cash Collateral Motion on October 7, 2021. On October 8, 2021,
                                                                 27 the Court entered an order granting the Fourth Cash Collateral Motion on an interim

                                                                 28 basis. See Docket No. 765. On October 26, 2021, the Court held a final hearing on the


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                                                                  1 Fourth Cash Collateral Motion. On October 27, 2021, the Court entered an order

                                                                  2 granting the Fourth Cash Collateral Motion on a final basis. See Docket No. 796.

                                                                  3 Pursuant to this order, the Trustee's authority to use cash collateral expires on December

                                                                  4 31, 2021. The Court's order authorized a budget of $149,200 to $246,550. As with the

                                                                  5 prior cash collateral periods, the Trustee intends to remain within budget for the cash

                                                                  6 collateral period covered by the Fourth Cash Collateral Motion, having spent $36,608.00

                                                                  7 to date. See Declaration of Elissa D. Miller.

                                                                  8           E.    The Trustee's Efforts to Preserve and Enhance Estate Value

                                                                  9           Since the Fourth Cash Collateral Motion, the Trustee has continued to work to

                                                                 10 preserve value for the Estate, and has taken a number of actions to position the Estate to

                                                                 11 recover additional value in the future. First, the Trustee has continued discussions with
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                                                                 12 law firms in an effort to transition cases to protect the interests of clients. Second, the
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                                                                 13 Trustee has continued to preserve the Estate's interests in the Debtor's attorneys' fees by

                                                                 14 filing notices of lien in certain of the Debtor's cases so that the Estate can preserve any

                                                                 15 quantum meruit claims and negotiating some of the liens. Third, the Trustee has worked

                                                                 16 to disburse funds to former clients and/or victims of the Debtor. As of April 2021, the

                                                                 17 Trustee had distributed or caused to be distributed more than $26 million to the Debtor's

                                                                 18 clients. See Chapter 7 Status Report, Docket No. 304. Finally, since filing the Debtor's
                                                                 19 schedules on August 24, 2021 the Trustee has begun her forensic accounting analysis.

                                                                 20 Currently, the Trustee has filed numerous motions for production of documents under

                                                                 21 FRBP 2004 from different banking institutions and the Court has granted all of these

                                                                 22 motions. The Trustee anticipates filing additional motions in the near future.

                                                                 23           The Trustee continues to diligently work to identify assets of the Debtor and this

                                                                 24 process is ongoing. Without continuing access to funds, the Trustee is unable to fund a

                                                                 25 proper investigation of the Debtor's affairs to preserve and maximize the value of the

                                                                 26 Estate. Accordingly, immediate and continued use of cash collateral is critical to both
                                                                 27 preservation and enhancement of the Estate, as well as protection of the Debtor's clients.

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                                                                  1           F.      The Estate's Current Cash Position

                                                                  2           Since the filing of the First, Second, Third and Fourth Cash Collateral Motions, the

                                                                  3 Trustee has continued to preserve value for the Estate and has positioned the Estate to

                                                                  4 recover value in the future. Currently, the Trustee has approximately $4.6 million in cash

                                                                  5 on hand. However, to the extent the Estate's funds are encumbered, the Trustee is

                                                                  6 unable to use them to fund her Court-approved limited operations and expenditures.3

                                                                  7 Accordingly, continued authority to use cash collateral is critical to preserve and

                                                                  8 maximize the value of the assets of the Estate. See Declaration of Elissa D. Miller.

                                                                  9           G.      Alleged Secured Creditors

                                                                 10           On April 9, 2021, the Trustee filed a Motion for Order Setting Bar Date for Filing

                                                                 11 Secured Proofs of Claim and Approving Form of Notice of Bar Date [Docket No. 300] (the
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                                                                 12 "Secured Claims Bar Date Motion"). On April 13, 2021, the Court entered an order
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                                                                 13 approving the Secured Claims Bar Date Motion [Docket No. 302], approving the form of

                                                                 14 notice of the secured claims bar date, and setting the bar date for filing secured claims to

                                                                 15 June 23, 2021 (the "Secured Claims Bar Date"). On April 21, 2021, the Trustee filed and

                                                                 16 served her Notice of Bar Date for Secured Creditors to File Proofs of Claim [Docket No.

                                                                 17 315]. The following table summarizes the claims of parties that allege to hold secured

                                                                 18 claims against the Estate and an interest in cash collateral as of the Secured Claims Bar
                                                                 19 Date:

                                                                 20

                                                                 21

                                                                 22

                                                                 23

                                                                 24       3     The Court has entered orders authorizing the Trustee to operate the business of the Debtor on a
                                                                      limited basis, as well as retain certain employees of the Debtor, among other relief. The Trustee's authority
                                                                 25   to operate the business of the Debtor was set to expire on July 13, 2021. On June 18, 2021, the Trustee
                                                                      filed a Motion for Order Authorizing Chapter 7 Trustee to: (A) Operate the Business of the Debtor on a
                                                                 26   Limited Basis Pursuant to 11 U.S.C. § 721; and (B) Maintain Current Status of Any Newly Discovered Trust
                                                                      Accounts [Docket No. 410]. On July 8, 2021, the Court entered an order authorizing the Trustee to operate
                                                                 27   the business of the Debtor on a limited basis until January 13, 2022. See Docket No. 484. The Trustee will
                                                                      be filing concurrently with this Motion a further motion for order authorizing the Trustee to operate the
                                                                 28   business of the Debtor on a limited basis through June 30, 2022.



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                                                                  1                   Order of                                                       Amounted Listed
                                                                                                                   Alleged Lienholder
                                                                  2                 Recordation                                                       in Proof of Claim
                                                                  3                                                                                     $6,508,361.554
                                                                                         First                 California Attorney Lending II
                                                                  4                                                                                        (Claim 71)

                                                                  5                                                                                      $7,456,773.04
                                                                                        Second                     Stillwell Madison, LLC
                                                                  6                                                                                        (Claim 75)

                                                                  7                                                                                     $11,302,622.87
                                                                                         Third                       Virage SPV 1, LLC
                                                                  8                                                                                        (Claim 77)

                                                                  9                                                                                      $4,281,638.89
                                                                                        Fourth                           Nano Banc
                                                                 10                                                                                        (Claim 70)

                                                                 11                                                                                    $11,747,245.955
                                                                                         Fifth             Joseph, Jaime, & Kathleen Ruigomez
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                                                                 12                                                                                        (Claim 23)
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                                                                 13                                                                                      $7,888,356.16
                                                                                         Sixth                KCC Class Action Services, LLC
                                                                 14                                                                                        (Claim 73)

                                                                 15

                                                                 16           After the Second Cash Collateral Motion, the Trustee and CAL II entered into a

                                                                 17 compromise concerning CAL II's secured claim. On May 11, 2021, the Trustee filed a

                                                                 18 Motion for Order Approving Compromise with California Attorney Lending II, Inc.
                                                                 19 Pursuant to Federal Rule of Bankruptcy Procedure 9019 (the "CAL II Compromise

                                                                 20 Motion") [Docket No. 336]. On June 9, 2021, the Court entered an order granting the

                                                                 21 CAL II Compromise Motion. Under the Trustee's compromise with CAL II, CAL II agreed

                                                                 22 to a single, reduced allowed claim of $6,508,361.55 as of the petition date with a first

                                                                 23

                                                                 24
                                                                          4   CAL II filed Claim 71 in the amount of $6,668,484.21. However, as detailed later, per its Court-
                                                                 25 approved compromise with the Trustee, CAL II has agreed to reduce its claim to $6,508,361.55. Under the
                                                                      compromise with CAL II, CAL II has reserved its right to seek post-petition interest at the California
                                                                 26 judgment rate of 10% and reasonable fees, costs or charges under 11 U.S.C. § 506(b). The Trustee has
                                                                      reserved all rights to oppose any such requests.
                                                                 27
                                                                          5   The Trustee is informed and believes that the Thomas Girardi Trustee recently paid down the
                                                                 28 Ruigomez Creditors' claim by approximately $600,000 from the proceeds of the La Quinta Property sale.


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                                                                  1 priority perfected security interest in substantially all of the Debtor's personal property

                                                                  2 assets.

                                                                  3           On June 24, 2021, the Trustee issued two checks to CAL II pursuant to the Court

                                                                  4 approved compromise. The first check issued to CAL II was in the amount of

                                                                  5 $2,093,235.90, and the second check was in the amount of $2,012,500.00. In sum, the

                                                                  6 Trustee has disbursed a total of $4,105,735.90 to CAL II. See Declaration of Elissa D.

                                                                  7 Miller. Further, Jason Rund, the chapter 7 trustee for the bankruptcy estate of Thomas

                                                                  8 Girardi's individual case, has also disbursed approximately $725,000.00 to CAL II. See

                                                                  9 Declaration of Philip E. Strok. Accordingly, between the two estates, CAL II has received

                                                                 10 approximately $4,830,735.90, or around 74% of its claim, in less than twelve months after

                                                                 11 the Court entered the order for relief.
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                                                                 13 III.      MEMORANDUM OF POINTS AND AUTHORITIES

                                                                 14           A.    The Trustee's Proposed Use of Cash Collateral

                                                                 15           The Trustee's current authorization to use cash collateral expires on December 31,

                                                                 16 2021. The Trustee's need for use of cash collateral remains crucial and ongoing.

                                                                 17 Consistent with the terms for cash collateral use under the First, Second, Third and

                                                                 18 Fourth Cash Collateral Motions, the Trustee's proposes to use cash collateral for the
                                                                 19 Cash Collateral Period on the following terms:

                                                                 20           (1)   The Trustee is authorized to use cash collateral in accordance with the

                                                                 21 Budget for the Cash Collateral Period. The Trustee's expenditures will not exceed 115%

                                                                 22 of the aggregate "High" expenditures in the Budget (i.e. a 15% variance). The Trustee

                                                                 23 has utilized names for positions in the Budget but may utilize different people or

                                                                 24 companies other than the ones indicated should any of her current team become

                                                                 25 unavailable. For economy, the Trustee may increase the hourly rate of one or more

                                                                 26 service providers included in the Budget and eliminate the use of others. However, in no
                                                                 27 event will the Trustee exceed the authorization as set forth in this Motion;

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                                                                  1           (2)   As adequate protection for use of their cash collateral, CAL II, Stillwell,

                                                                  2 Virage, Nano, the Ruigomez Creditors, and KCC will receive a postpetition replacement

                                                                  3 lien for its asserted secured claim against the Debtor's assets with the same validity,

                                                                  4 priority, scope and extent as any lien(s) held by the alleged secured creditor as of the

                                                                  5 involuntary petition date solely to the extent that the use of cash collateral results in the

                                                                  6 diminution of the alleged secured creditor's prepetition lien;

                                                                  7           (3)   CAL II, Stillwell, Virage, Nano, the Ruigomez Creditors, and KCC are not

                                                                  8 required to file any financing statement, notice, lien or other similar instrument in any

                                                                  9 jurisdiction, or take any other action to perfect its replacement lien, and the replacement

                                                                 10 lien is automatically perfected upon approval of the Motion;

                                                                 11           (4)   The replacement lien shall not encumber or otherwise attach to any causes
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                                                                 12 of action under chapter 5 of the Bankruptcy Code or any proceeds of such causes of
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                                                                 13 action;

                                                                 14           (5)   Except to the extent already agreed to with CAL II, all rights and arguments

                                                                 15 of the Trustee, on behalf of the Estate, to challenge or dispute the validity, priority, scope

                                                                 16 or extent of the security interests asserted by any alleged secured creditor, including

                                                                 17 without limitation, in the Debtor's postpetition receipts and cash, or that the use of cash

                                                                 18 collateral has resulted in the diminution of the value of the alleged secured creditor's
                                                                 19 prepetition liens, are preserved.

                                                                 20           (6)   Neither the Trustee nor the Estate are waiving any rights under 11 U.S.C.

                                                                 21 § 506(c) ;

                                                                 22           (7)   Upon reasonable request and subject to appropriate confidentiality

                                                                 23 provisions, the Trustee will provide her Form 2 Cash Receipts and Disbursements

                                                                 24 Record; and

                                                                 25           (8)   The Trustee is authorized to use cash collateral until June 30, 2022 unless

                                                                 26 further extended with or without the alleged secured creditor's consent subject to
                                                                 27 Bankruptcy Court order; and

                                                                 28


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                                                                  1           (9)    The Trustee reserves the right to seek an order from the Bankruptcy Court

                                                                  2 extending the Stipulations and/or authorizing the Trustee's further use of cash collateral.

                                                                  3           Attached hereto as Exhibit "2" is the Trustee's Statement Regarding Cash

                                                                  4 Collateral or Debtor in Possession Financing [FRBP 4001; LBR 4001-2]. Attached

                                                                  5 hereto as Exhibit "3" is the Trustee's proposed order granting this Motion.

                                                                  6           B.     The Court Should Authorize the Use of Cash Collateral Because the

                                                                  7                  Alleged Secured Creditors are Adequately Protected

                                                                  8           A bankruptcy court may authorize a trustee's use of cash collateral without the

                                                                  9 consent of a secured creditor provided the secured creditor's interest in such cash

                                                                 10 collateral is adequately protected. See 11 U.S.C. §§ 363(c), (e). "However, the

                                                                 11 protection afforded to secured creditors is not absolute." Sec. Leasing Partners, LP v.
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                                                                 12 ProAlert, LLC (In re ProAlert, LLC), 314 B.R. 436, 441 (B.A.P. 9th Cir. 2004). Rather, as
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                                                                 13 articulated by the United States Supreme Court, a secured creditor is entitled to adequate

                                                                 14 protection only from the decline in value of its collateral package post-petition. See

                                                                 15 United Sav. Ass'n of Texas v. Timbers of Inwood Forest Assoc., Ltd., 484 U.S. 365, 370

                                                                 16 (1988).

                                                                 17           Multiple courts have authorized the use of cash collateral to either enhance or

                                                                 18 preserve the value of a debtor's estate. See Stein v. U.S. Farmers Home Admin. (In re
                                                                 19 Stein), 19 B.R. 458, 460 (Bankr. E.D. Pa. 1982) (finding that the use of cash collateral

                                                                 20 was necessary to operate the debtor's business in turn enhancing the debtor's estate);

                                                                 21 Fed. Nat'l Mortg. Ass'n v. Dacon Bolingbrook Assoc. L.P., 153 B.R. 204, 214 (N.D. Ill.

                                                                 22 1993) (finding that "the required adequate protection of Rents is satisfied to the extent

                                                                 23 the Debtor reinvests the Rents in the operation and maintenance of the property because

                                                                 24 the value of the secured creditor's interest in its collateral will thereby be increased."); In

                                                                 25 re Constable Plaza Assoc., 125 B.R. 98, 105 (Bankr. S.D.N.Y. 1991) (finding adequate

                                                                 26 protection is present in part because rent would be used for maintaining office building,
                                                                 27 which would "preserve or enhance the value of the building" and "protect the

                                                                 28 collateral…").


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                                                                  1           A sufficient equity cushion may serve as adequate protection. See Pistole v.

                                                                  2 Mellor (In re Mellor), 734 F.2d 1396, 1400 (9th Cir. 1984) ("[T]he existence of an equity

                                                                  3 cushion…is the classic form of protection for a secured debt justifying the restraint of lien

                                                                  4 enforcement by the bankruptcy court."). The Ninth Circuit has recognized that "[a] 20%

                                                                  5 cushion has been held to be an adequate protection for a secured creditor." See id. at

                                                                  6 1402 (holding that a 20% equity cushion is adequate protection in the context of a motion

                                                                  7 for relief from stay). "[A]dequate protection under § 363 should be treated the same as

                                                                  8 under § 362." See McCombs Prop. VI, Ltd. v. First Texas Sav. Ass'n (In re McCombs

                                                                  9 Properties VI, Ltd.), 88 B.R. 261, 266 (Bankr. C.D. Cal. 1988). There is "no reason for

                                                                 10 treating an equity cushion differently when reviewing adequate protection under § 363."

                                                                 11 Id.
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                                                                 12           The Trustee's use of cash collateral will preserve and enhance value of the Estate,
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                                                                 13 providing the secured creditors with adequate protection. The Estate's primary assets

                                                                 14 are the Debtor's interests in its attorneys' fees and costs from its contingency cases. In

                                                                 15 order to preserve the value of these assets, the Trustee has continued to negotiate with

                                                                 16 different law firms to represent the Debtor's clients, with the goal of transferring these

                                                                 17 cases so that the clients have representation and so that the Estate can receive the

                                                                 18 Debtor's attorneys' fees and costs in an amount that is fixed and certain. The Trustee
                                                                 19 has also reached out to counsel that took over cases prior to the Trustee’s appointment

                                                                 20 to protect the Estate’s rights to assert a quantum meruit claim for its fees and costs. This

                                                                 21 result would be a vast improvement from what would otherwise be undefined quantum

                                                                 22 meruit claims, if any. However, in cases where the clients have elected to choose new

                                                                 23 counsel, the Trustee has filed notices of lien to preserve the Estate's quantum meruit

                                                                 24 claims.

                                                                 25           To realize the value of the Debtor's interests in its attorneys' fees and costs, the

                                                                 26 Trustee needs cash to fund the transition of the Debtor's cases and to provide
                                                                 27 information to her team asserting and negotiating the recovery of the fees and costs. The

                                                                 28 Trustee also requires cash to return case files to clients – not a simple task. Specifically,


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                                                                  1 the Trustee needs to be able to continue accessing the physical files and electronic

                                                                  2 databases that house the Debtor's case files and needs uninterrupted utilities at the

                                                                  3 Debtor's office. The Trustee also needs the assistance of professionals, para-

                                                                  4 professionals and former employees to preserve these case files by helping locate case

                                                                  5 lists, files and cost ledgers (or help find the documents necessary to prepare the cost

                                                                  6 ledgers). Without these basic and necessary expenditures, the Trustee will not have

                                                                  7 access to the Debtor's case files and may not be able to effectively transition the Debtor's

                                                                  8 cases or ascertain the Debtor's fees and costs. If transitions fail to occur, the Trustee

                                                                  9 may not able to collect any fees and costs for the Estate. The Trustee's goal is to obtain

                                                                 10 a recovery for the Estate that exceeds the quantum meruit value of the Debtor's interest

                                                                 11 in its fees. At a minimum, access to cash collateral will preserve the Estate's value by
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                                                                 12 preserving the Debtor's records that support its quantum meruit and cost claims. As
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                                                                 13 noted earlier, the Trustee has continued to file and negotiate notices of liens to preserve

                                                                 14 the Debtor's quantum meruit claims. This preservation of value of the Debtor's quantum

                                                                 15 meruit and cost claims adequately protects the secured creditors.

                                                                 16           The Trustee continues to use cash collateral to enhance the value of the Estate

                                                                 17 and to position the Estate to recover more value. Specifically, the Trustee has filed

                                                                 18 notices of lien in certain of the Debtor's pending cases so that the Estate can receive the
                                                                 19 quantum meruit value for the Debtor's services. Further, the Trustee has started her

                                                                 20 forensic accounting analysis, in an effort to locate further assets of the Debtor and

                                                                 21 investigate whether any funds were wrongfully dissipated. These actions will allow the

                                                                 22 Trustee to eventually realize value for the Estate. The Trustee's work to maximize value

                                                                 23 for the Estate has been funded by cash collateral, and the enhanced value of the Estate

                                                                 24 will provide the secured creditors with adequate protection.6

                                                                 25

                                                                 26
                                                                          6   The Trustee's access to cash collateral has also allowed the Trustee to be able to disburse funds
                                                                 27 to the Debtor's clients. As of April 2021, the Trustee had already disbursed or caused to be disbursed
                                                                      more than $26 million to clients. The Trustee's efforts to ensure that these funds are disbursed to clients is
                                                                 28 ongoing. See Docket No. 304.


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                                                                  1           The Trustee's proposed Budget poses no threat to any secured creditor's

                                                                  2 collateral. The Budget seeks approval for expenditures that are absolutely necessary to

                                                                  3 protect and enhance the Estate—nothing more. In the past, the Trustee has remained

                                                                  4 well-within her proposed budgets. Currently, the Trustee's expenditures for the current

                                                                  5 cash collateral period are projected to remain within the budget again. The Trustee's

                                                                  6 proven track record for managing cash collateral carefully will not change, and the

                                                                  7 Trustee remains committed to conserving cash collateral and spending only when

                                                                  8 necessary. Here, the Trustee's Budget is similarly cautious, and will not result in rapid

                                                                  9 diminishment in cash collateral. In short, the Trustee's proposed expenditures only serve

                                                                 10 to enhance and preserve the Estate's value.

                                                                 11           CAL II's interest in cash collateral is clearly adequately protected. As discussed
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                                                                 12 earlier, CAL II is adequately protected because the Trustee's use of cash collateral will
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                                                                 13 both preserve and enhance the Estate. The enhancement of CAL II's collateral is not

                                                                 14 speculative. CAL II has received more than $4.1 million in payments from the Trustee in

                                                                 15 less than a year. The payments to CAL II would not have been possible without the

                                                                 16 Trustee's access to cash collateral. Moreover, CAL II is adequately protected by a

                                                                 17 sufficient equity cushion. The Estate currently has approximately $4.6 million in cash on

                                                                 18 hand. When accounting for the approximately $725,000 CAL II has received from the
                                                                 19 bankruptcy estate of Thomas Girardi in addition to the $4.1 million received from this

                                                                 20 Estate, CAL II has received more than $4.8 million (constituting approximately 74% of its

                                                                 21 claim) in less than a year, and is owed approximately $1,677,625.65. The cash on hand

                                                                 22 in the Estate is more than double what CAL II is owed. This equity cushion clearly

                                                                 23 provides CAL II with adequate protection. See Mellor, 734 F.2d at 1402 (holding that an

                                                                 24 equity cushion of 20% constitutes adequate protection). Moreover, CAL II's collateral will

                                                                 25 not dissipate quickly, if at all. The Trustee has remained within her authorized budget,

                                                                 26 while still managing to disburse more than $4.1 million to CAL II. Finally, CAL II is
                                                                 27 adequately protected no differently than the other creditors asserting secured claims, as

                                                                 28


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                                                                  1 the Trustee's proposed order will provide CAL II with the same benefits provided in this

                                                                  2 Motion.

                                                                  3           In sum, access to cash collateral will provide the Trustee with more funding to

                                                                  4 transition cases and preserve value for the Estate. Cash collateral will give the Trustee

                                                                  5 the ability to enter into similar compromises and agreements that may further enhance

                                                                  6 the Estate's value. As made clear in the Budget, the Trustee is seeking funding only for

                                                                  7 what is absolutely necessary. The Budget is straightforward and designed to allow the

                                                                  8 Trustee to preserve and enhance the value of the alleged secured creditors' collateral.

                                                                  9 Because the use of cash collateral will preserve and potentially enhance the value of the

                                                                 10 secured creditors' collateral, the secured creditors are adequately protected.

                                                                 11 Accordingly, the Court should authorize the Trustee to use cash collateral.
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                                                                 12 IV.       CONCLUSION
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                               Costa Mesa, California 92626




                                                                 13           For the foregoing reasons, the Trustee requests that the Court enter an order:

                                                                 14           1.    Granting the Motion;

                                                                 15           2.    Authorizing the use of cash collateral pursuant to FRBP 4001(b) in

                                                                 16 accordance with the Budget attached hereto as Exhibit "1" through June 30, 2022, with

                                                                 17 expenditures not to exceed 115% of the aggregate "High" expenditures in the Budget (i.e.

                                                                 18 a 15% variance);
                                                                 19           3.    Providing all alleged secured creditors with the adequate protection and

                                                                 20 other applicable benefits set forth in this Motion; and

                                                                 21           4.    Granting such other and further relief as the Court deems just and proper.

                                                                 22

                                                                 23 DATED: November 23, 2021                 Respectfully submitted,

                                                                 24                                          SMILEY WANG-EKVALL, LLP
                                                                 25

                                                                 26
                                                                                                             By:          /s/ Philip E. Strok
                                                                 27                                                PHILIP E. STROK
                                                                                                                   Attorneys for Elissa D. Miller, Chapter 7
                                                                 28                                                Trustee


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                             EXHIBIT 2


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Claims Summary                                    Main Document    Page 27 of 34

2:20-bk-21022-BR Girardi Keese

Type: bk                           Chapter: 7                          Office: 2 (Los Angeles)
Assets: y                          Judge: BR
Date Filed: 12/18/2020             Last Date to File Claims:           Last Date to File (Govt):
Trustee: Elissa Miller (TR)


 Claim #                      Amount claimed *       Date filed   Creditor number        Creditor name
              1   View                    $61000.00 02/18/2021    40662327               Fay Pugh
              2   View                  $1557500.00 02/18/2021    40662704               Robert Keese
              3   View                  $1261985.34 02/18/2021    40591558               Virginia Antonio
              4   View                   $102341.50 02/18/2021    40663145               Dominic Lombardo
              5   View                   $757500.00 02/18/2021    40591537               Jill O'Callahan
              6   View                   $973967.37 02/18/2021    40591536               Erika Saldana
              7   View                   $316940.05 02/18/2021    40591539               Kimberly Archie
             8-2 View                   $1637620.00 04/19/2021    40591538               John Abassian
              9   View                   $275055.40 02/23/2021    40668175               L. Everett & Associates, LLC
             10   View                     $3467.00 02/23/2021    40669016               Gayle C. Kurosu
             11   View                    $22000.00 02/25/2021    40672018               DK Global, Inc.
             12   View                   $163134.41 02/26/2021    40674201               US Legal Support
             13   View                    $14344.00 02/26/2021    40674220               Marlatt Consulting
             14   View                   $333731.25 02/26/2021    40674358               CT3Media, Inc. Chet Thompson
             15   View                     $4133.33 02/26/2021    40675963               Sammy Y. Hsu
             16   View                    $45352.00 02/23/2021    40679143               Express Network LLC
            17-2 View                    $882004.65 09/09/2021    40681405               Wells Fargo Vendor Financial Services, LLC
             18   View                     $1182.00 03/02/2021    40689097               Peterson & Associates Court Reporting, Inc.
             19   View                     $5000.00 03/16/2021    40699158               29039 Gladiolus Dr.
             20   View                   $156891.30 03/16/2021    40702756               Cigna Health and Life Insurance Company
            21-3 View                    $150000.00 04/13/2021    40706924               David R. Lira
             22   View                    $29000.00 03/19/2021    40713979               Michael Vislosky
             23   View                 $11747245.95 03/26/2021    40714206               Jaime Ruigomez
             24   View                 $11747245.95 03/26/2021    40714208               Joseph Ruigomez
             25   View                 $11747245.95 03/26/2021    40714209               Kathleen Ruigomez
             26   View                   $100000.00 03/31/2021    40722980               Bedford Law Group, APC
             27   View                  $2241274.00 04/05/2021    40729684               L.A. Arena Funding, LLC
             28   View                     $3000.00 04/06/2021    40730836               Eric Lindvall, DO
             29   View                    $18000.00 04/09/2021    40735704               Noel Montes
            30-2 View                    $744650.00 11/17/2021    40949371               Christina Fulton
             31   View                   $352000.00 04/19/2021    40748271               Manuel H. Miller
             32   View                  $1777483.30 04/19/2021    40748306               Kathleen L. Bajgrowicz
             33   View                     $8825.24 04/20/2021    40749491               Pitney Bowes Inc
             34   View                   $194243.11 04/20/2021    40749563               Baker, Keener & Nahra, LLP
             35   View                    $41477.00 04/20/2021    40749583               Rest Your Case Evidence Storage LLC
            36-2 View                    $184144.55 02/18/2022    40749657               Judy Selberg
            37-2 View                   $1000000.00 02/18/2022    40749657               Judy Selberg
             38   View                    $18710.61 04/21/2021    40751832               Simba Capital Inc. Robert Cohan
             39   View                    $21757.26 04/27/2021    40758488               Esquire Deposition Solutions, LLC.
             40   View                     $4614.10 04/28/2021    40761186               Pitney Bowes Global Financial Services LLC
             41   View                     $8372.51 04/28/2021    40761186               Pitney Bowes Global Financial Services LLC
             42   View                   $179685.00 04/29/2021    40763219               Dalton & Associates
             43   View                    $57892.28 05/06/2021    40775441               American Express Travel Related Services Company,
             44   View                    $12500.00 05/09/2021    40778503               Matthew Jones
             45   View                    $50000.00 05/25/2021    40798130               Amy Fisch Solomon
             46   View                 $25000000.00 05/26/2021    40802329               Owen, Patterson & Owen
             47   View                   $135000.00 05/28/2021    40806089               JOSEFINA CASTILLO-HERNANDEZ
             48   View                    $50000.00 05/29/2021    40811052               Shane Jeter
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Claim #                 Amount claimed *     Main    Document
                                               Date filed            Page 28 Creditor
                                                          Creditor number    of 34name
           49    View             $1500000.00 05/30/2021      40811480   Michael hambright
           50    View               $50000.00 05/30/2021      40811481   Cody Thompson
           51    View               $63440.00 05/31/2021      40811908   gerald j jacquart and lisa m jacquart
           52    View                $7946.48 06/02/2021      40813680   Johnson Controls Security Solutions
           53    View               $40000.00 06/01/2021      40814401   Kimberly Anne Coleman
           54    View               $12500.00 06/03/2021      40814735   Brian Garrett
           55    View               $25000.00 06/03/2021      40815451   Joshua Remnant
           56    View              $163750.00 06/04/2021      40816509   KABC-AM Radio, Inc.
           57    View               $13500.00 06/04/2021      40816783   Professional Recruiters Inc.
           58    View               $13500.00 06/04/2021      40816794   The Law Business Insider Radio Show
           59    View               $12500.00 06/06/2021      40818272   Brandon Stokes
           60    View               $12500.00 06/07/2021      40819582   Henry Andrew Perez Betancur
           61    View              $900000.00 06/08/2021      40820566   Law Offices of Philip R. Sheldon, APC
           62    View              $900000.00 06/08/2021      40820566   Law Offices of Philip R. Sheldon, APC
           63    View             $3940000.00 06/08/2021      40820603   Law Offices of Robert P. Finn
           64    View               $25000.00 06/10/2021      40822550   SHANE MORGAN
           65    View               $25000.00 06/11/2021      40824054   Christian Petty
           66    View                      $0.00 06/15/2021   40826736   rachael davis
           67    View               $12500.00 06/14/2021      40829455   Nickalas Maurice Wilson
           68    View               $30818.56 06/17/2021      40830413   Daimler Trust
           69    View                $3440.57 06/17/2021      40830588   Golkow Litigation Services, LLC
           70    View             $4281638.89 06/22/2021      40838107   Nano Banc
           71    View             $6668484.21 06/22/2021      40838922   California Attorney Lending II, Inc.
           72    View             $8698610.03 06/22/2021      40838941   Counsel Financial Services LLC, Disbursing Agent
           73    View             $7888356.16 06/23/2021      40839758   KCC Class Action Services, LLC
           74    View                            06/23/2021   40840588   Vititoe Law Group
           75    View             $7456773.04 06/23/2021      40840909   Stillwell Madison
           76    View                $2425.38 06/23/2021      40841018   Ronnell Taylor on the behalf of Sadie Taylor
           77    View            $11302622.87 06/23/2021      40841132   Virage SPV 1, LLC
           78    View                      $0.00 06/24/2021   40841773   Peter Anakaraonye
           79    View                      $0.00 06/24/2021   40841836   Daymond Walton
           80    View               $12400.00 06/24/2021      40841840   JAMS, INC.
           81    View               $25000.00 06/25/2021      40842851   Jordan DeWanz- Titus
           82    View               $12500.00 06/25/2021      40843550   Devin Lynn Scott
           83    View                $5000.00 06/27/2021      40841773   Peter Anakaraonye
           84    View               $50000.00 06/27/2021      40845034   Hakeem Daul Shacquil Danley ( hobson)
           85    View               $10000.00 06/28/2021      40845099   Jared W. Baptista
           86    View               $12500.00 06/28/2021      40845606   Jehoshaphat Shambee
           87    View               $14635.25 06/28/2021      40846659   DJK Counsel, Ltd.
           88    View               $10000.00 06/30/2021      40849082   John Edward Tillson IV
           89    View                $4823.49 07/06/2021      40858675   Atkinson-Baker, Inc.
           90    View              $289548.61 07/12/2021      40863884   Department of Health Care Services
           91    View             $2063292.00 07/19/2021      40870589   Edelson PC
           92    View               $12500.00 07/20/2021      40871921   Israel I Cassaro
           93    View                            07/21/2021   40873054   COHEN & COHEN, LLP
           94    View               $25000.00 07/21/2021      40873342   Brian Armstead
           95    View               $25000.00 07/23/2021      40875342   Micah S Beal
           96    View               $50000.00 07/19/2021      40879820   Thomas A. Schrandt
           97    View                $9660.00 07/29/2021      40841840   JAMS, INC.
           98    View                 $400.00 08/20/2021      40908363   crystal fisher
           99    View               $79484.62 08/24/2021      40911160   Alexa Galloway
           100   View               $10000.00 08/31/2021      40920673   Daniel M Hefner
           101   View               $12500.00 09/06/2021      40926798   Zachary Hook
           102   View               $35000.00 09/10/2021      40929881   David M Goodrich Ch 7 Tr for the
           103   View               $29000.00 09/15/2021      40933780   Melvin Rosebud
           104   View                $2031.01 09/16/2021      40935647   Jorge L Lledo
           105   View               $81266.66 09/30/2021      40974081   Holstein, Taylor and Unitt

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Claim #                 Amount claimed *     Main    Document
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                                                          Creditor number    of 34name
           106   View              $100000.00 10/04/2021      40977309   Steiner & Libo, Professional Corporation
           107   View                $2600.00 08/02/2021      40959707   Matthew Tilley
           108   View               $25000.00 08/30/2021      40977919   City of Torrance
           109   View               $30000.00 09/03/2021      40977920   Robert Yrigoyen
           110   View               $77275.00 10/04/2021      40977921   Jones, Roach & Caringella, Inc.
           111   View              $600000.00 10/11/2021      40983966   Lozel Tarver
           112   View               $12500.00 10/11/2021      40950697   David Navarro
           113   View                $2772.00 10/14/2021      40952671   File And Servexpress Llc
           114   View                      $0.00 10/14/2021   40962217   Queen Medley
           115   View               $99941.67 10/18/2021      40990087   Bernard Fernandez
           116   View                      $0.00 10/18/2021   40949389   Christine Fernandez
           117   View               $39964.90 10/18/2021      40949419   Christopher Fernandez
           118   View                            10/19/2021   40946755   Andreta Mcelrath
           119   View              $250000.00 10/19/2021      40991454   Michael J Alleyne
           120   View             $1000000.00 10/20/2021      40993081   Billy R Brewer
           121   View               $21421.67 10/01/2021      40994387   Life Insurance Company of North America
           122   View              $250000.00 10/21/2021      40994605   Sheila M Marshall
           123   View               $13010.36 10/21/2021      40995434   Huntley-Fenner Advisors, Inc.
           124   View               $18875.06 10/22/2021      40996025   System Supply Stationery
           125   View             $1000000.00 10/21/2021      40956205   Johnny Thompson
           126   View                $1169.10 10/22/2021      40957427   Kusar Legal Services, Inc.
           127   View                $3633.00 10/25/2021      40956241   Jonathan Club
           128   View               $56368.96 10/26/2021      40958522   LOS ANGELES COUNTY TREASURER AND TAX COLLECTOR
           129   View               $74246.82 10/26/2021      40958522   LOS ANGELES COUNTY TREASURER AND TAX COLLECTOR
           130   View                      $0.00 10/26/2021   40953334   Georgina Butler
           131   View                      $0.00 10/26/2021   40963599   Ronald James Butler
           132   View                $8000.00 10/26/2021      40957673   Lashonna Oliver
           133   View                      $0.00 10/26/2021   40999170   Keeya Joiner
           134   View              $400000.00 10/26/2021      40995960   John W Kent
           135   View               $42130.00 10/26/2021      40999186   Thomas Woodcock
           136   View              $250000.00 10/26/2021      40956596   Juanita Harris
           137   View              $250000.00 10/26/2021      40961233   Ora Joseph Dickson
           138   View              $250000.00 10/26/2021      40999190   Vivian C Hampton
           139   View              $250000.00 10/26/2021      40999191   Kay Smith
           140   View                $8140.65 10/26/2021      40999192   Precise Professional Services
           141   View              $250000.00 10/26/2021      40999193   Edith Mae Strong
           142   View                      $0.00 10/26/2021   40999202   Ray Butler
           143   View              $250000.00 10/26/2021      40999203   Jennifer Arnett Strong
           144   View              $250000.00 11/01/2021      41007049   Annie L. Dennis
           145   View              $250000.00 11/01/2021      40958364   Liz Hill
           146   View              $250000.00 11/01/2021      41007057   CJ Hill
           147   View                      $0.00 11/05/2021   40960701   Natasha Franklin
           148   View                $8000.00 11/01/2021      40957673   Lashonna Oliver
           149   View               $12750.00 11/07/2021      40949362   Christian Totten
           150   View               $65000.00 11/23/2021      40950594   David Carpenter
           151   View              $512000.00 12/03/2021      41035653   Richard Landingham
           152   View                      $0.00 12/08/2021   41037850   4477 Ruby Rd
           153   View                      $0.00 12/08/2021   40962201   QF
           154   View              $206830.00 12/13/2021      41042487   MDA Financial Solutions
           155   View              $111516.00 12/13/2021      41042475   Rajan M Patel MD
           156   View                            12/07/2021   40956240   Jonathan Chapel
           157   View                $8263.59 12/01/2021      41042833   RPC Property Tax Advisors LLC
           158   View                $2767.57 12/15/2021      41043849   FedEx Corporate Services, Inc
           159   View                $5800.00 12/15/2021      41044466   Ronnie M. Williams
           160   View              $485547.87 12/17/2021      41046305   Department of Health Care Services
           161   View               $51631.17 01/05/2022      41049264   INTERNAL REVENUE SERVICE
           162   View              $169096.95 01/19/2022      41070413   Bulkley, Richardson and Gelinas, LLP

                                                                                                                    029
          Case 2:20-bk-21022-BR                 Doc 1037 Filed 03/01/22 Entered 03/01/22 21:09:14                                  Desc
Claim #                      Amount claimed *    Main    Document
                                                   Date filed            Page 30 Creditor
                                                              Creditor number    of 34name
           163   View                    $14491.37 01/19/2022           41070839                    Regina Torrez
           164   View                    $11243.27 01/19/2022           41070847                    Armando Torrez
           165   View                     $2340.63 01/19/2022           41070860                    Bryan Zachary Torrez
           166   View                     $2998.25 01/19/2022           41070881                    Jake Alexander Torrez
           167   View                     $2998.25 01/19/2022           41070903                    Christopher Torrez
           168   View                  $2000000.00 01/19/2022           41071075                    JAMES DEVITT
           169   View                    $68623.35 01/19/2022           40946280                    Alejandro Martinez
           170   View                    $68623.35 01/19/2022           40946280                    Alejandro Martinez
           171   View                    $35643.27 01/19/2022           40962454                    Ramona Martinez
           172   View                    $35643.27 01/19/2022           40946996                    Anthony Martinez
           173   View                    $35643.27 01/19/2022           40946297                    Alex Martinez
           174   View                    $11243.27 01/20/2022           40961814                    Pete Rodriguez
           175   View                    $12242.69 01/20/2022           40955587                    Jenny Rodriguez
           176   View                    $11243.27 01/20/2022           40961814                    Pete Rodriguez
           177   View                 $95170107.00 01/20/2022           41071557                    Abir Cohen Treyzon Salo, LLP
           178   View                 $11114000.00 01/20/2022           41071844                    1126 Wilshire Partnership
           179   View                  $3270604.02 01/20/2022           41071845                    Robert W Finnerty
           180   View                     $3602.27 01/21/2022           41072166                    Cintas Corporation
           181   View                                  01/21/2022       41073147                    Erika Girardi


                                                               Total Number of Claims: 181


                                                       Total Amount Claimed * $253028907.38
                                                       Total Amount Allowed *
                                                           * Includes general unsecured claims

                        The values are reflective of the data entered. Always refer to claim documents for actual amounts.

                                                                          Claimed   Allowed
                                                        Secured        $59403967.09
                                                        Priority        $108572.59
                                                        Administrative



                                                                PACER Service Center
                                                                     Transaction Receipt
                                                                      03/01/2022 19:47:33
                                            PACER                    Client
                                                           Lewlandau            Virage
                                            Login:                   Code:
                                                                                2:20-bk-21022-BR Filed or Entered
                                                           Claims     Search
                                            Description:                        From: 2/9/2019 Filed or Entered To:
                                                           Summary    Criteria:
                                                                                1/1/2023
                                            Billable
                                                           5          Cost:     0.50
                                            Pages:




                                                                                                                                   030
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
    22287 Mulholland Hwy., # 318
    Calabasas, CA 91302
A true and correct copy of the foregoing document entitled (specify): __________________________________________
 OPPOSITION AND REQUEST FOR HEARING RE TRUSTEE’S APPLICATION TO EMPLOY SPECIAL LITIGATION
________________________________________________________________________________________________
________________________________________________________________________________________________
 COUNSEL
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
03/01/2022          I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                       ✔ Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

03/01/2022         Lewis R. Landau                                                             /s/ Lewis R. Landau
 Date                        Printed Name                                                       Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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